     Case 5:15-cv-01260-DDP-JPR Document 11 Filed 10/31/17 Page 1 of 1 Page ID #:40




1

2

3

4

5

6                       UNITED STATES DISTRICT COURT
7
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
8

9
      BILL UZETA,                                 ) Case No. EDCV 15-01260-DDP-JPR
10
                                                  )
11    Plaintiff,                                  ) ORDER
12
                                                  )
             vs.                                  )
13                                                )
14    ASSET ACCEPTANCE, LLC, and                  )
      DOES 1 through 10, inclusive,               )
15
                                                  )
16    Defendant.                                  )
17

18           IT IS HEREBY ORDERED that pursuant to the parties’ stipulation to
19    dismiss this case with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the
20    entire case is dismissed with prejudice. Each party shall bear their own attorney’s
21    fees, costs and expenses.
22

23    Dated: October 31, 2017                  _______________________________
24
                                             UNITED STATES DISTRICT JUDGE
25

26

27

28




                                         Order to Dismiss - 1
